                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-3 Filed 07/11/22 Page 1 of 5 Page ID #:2292



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                                                                                                                 7
                                                                                                                     Attorneys for Plaintiffs
                                                                                                                 8   Western Riverside Council of Governments
                                                                                                                     and City of Beaumont
                                                                                                                 9
                                                                                                                10                       UNITED STATES DISTRICT COURT
                                                                                                                11                      CENTRAL DISTRICT OF CALIFORNIA
                                             18101 VON KARMAN AVENUE, SUITE 1000
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                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                13   WESTERN RIVERSIDE COUNCIL OF               Case No. 5:20-cv-02164- GW (KKx)
                                                                                                                     GOVERNMENTS, a California Joint
                                                                                                                14   Powers Authority; CITY OF                  PLAINTIFF WESTERN
                                                                                                                     BEAUMONT, a public entity in the           RIVERSIDE COUNCIL OF
                                                                                                                15   State of California,                       GOVERNMENTS AND CITY OF
                                                                                                                                                                BEAUMONT’S REQUEST FOR
                                                                                                                16                 Plaintiff,                   EVIDENTIARY RULING ON
                                                                                                                                                                SPECIFIED OBJECTIONS TO
                                                                                                                17         v.                                   DOCUMENTS ATTACHED TO
                                                                                                                                                                DEFENDANT’S REQUEST FOR
                                                                                                                18   NATIONAL UNION FIRE                        JUDICIAL NOTICE
                                                                                                                     INSURANCE COMPANY OF
                                                                                                                19   PITTSBURGH, PA, and DOES 1
                                                                                                                     through 50, inclusive,
                                                                                                                20                                              Date:        August 1, 2022
                                                                                                                                   Defendants.                  Time:        8:30 a.m.
                                                                                                                21                                              Courtroom:   9D
                                                                                                                22
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                                                                                                                                                                               5:20-CV-02164- GW (KKX)
                                                                                                                                                         -1-                 EVIDENTIARY OBJECTIONS
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-3 Filed 07/11/22 Page 2 of 5 Page ID #:2293



                                                                                                                 1         EVIDENTIARY OBJECTIONS TO THE OPPOSITION TO MOTION
                                                                                                                 2                          FOR SUMMARY JUDGMENT
                                                                                                                 3         Plaintiffs WESTERN RIVERSIDE COUNCIL OF GOVERNMENTS and
                                                                                                                 4   CITY OF BEAUMONT (“Plaintiffs”) hereby submit the following evidentiary
                                                                                                                 5   objections to the Documents Attached to Defendant National Union Fire Insurance
                                                                                                                 6   Company’s (“Defendant”) Request for Judicial Notice (ECF 49-5 pp. 305-319)
                                                                                                                 7   filed in Support of the Motion for Summary Judgment brought by Defendant.
                                                                                                                 8                 GENERAL AND PRELIMINARY OBJECTIONS
                                                                                                                 9
                                                                                                                10    Obj.  Material Objected To       Grounds for Objection       Ruling on the
                                                                                                                       No.                                                          Objection
                                                                                                                11    1    Felony Plea Forms,          Hearsay (FRE 805, 801- Sustained:
                                                                                                                                                       802); (see Lee v. City of
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                                                                                                                           People of the State of
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                                                                                                                12                                     Los Angeles, 250 F.3d     Overruled:
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                           California v. Alan          668, 688-89 (9th Cir.
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                                                                                                                13         Kapanicas, et al., Case     2001) (holding “[W]hile
                                                                                                                                                       the existence of the plea
                                                                                                                14         No. RIF 1602262             is properly subject to
                                                                                                                           ECF NO. 49-5, ECF 49-5      judicial notice, the
                                                                                                                15         at pp. 305-310.             contents of the
                                                                                                                                                       documents Plaintiff
                                                                                                                16                                     submitted are not
                                                                                                                                                       judicially noticeable for
                                                                                                                17                                     the purpose for which
                                                                                                                                                       Plaintiff introduces
                                                                                                                18                                     them; i.e., the truth of
                                                                                                                                                       the matters contained
                                                                                                                19                                     therein.”); see also
                                                                                                                                                       Wyatt v. Terhune, 315
                                                                                                                20                                     F.3d 1108, 1114 (9th
                                                                                                                                                       Cir.2003) (concluding
                                                                                                                21                                     that taking judicial
                                                                                                                                                       notice of the findings of
                                                                                                                22                                     fact from another case
                                                                                                                                                       exceeds scope of FRE
                                                                                                                23                                     201);
                                                                                                                24                                     Requirement of the
                                                                                                                                                       Original (FRE 1002);
                                                                                                                25                                     (see United States v.
                                                                                                                                                       Bennett, 363 F.3d 947,
                                                                                                                26                                     953-54 (9th Cir.
                                                                                                                                                       2004)(holding that
                                                                                                                27                                     testimony offered to
                                                                                                                                                       prove the content of
                                                                                                                28                                     data—or a printout or
                                                                                                                                                                                  5:20-CV-02164- GW (KKX)
                                                                                                                                                           -2-                  EVIDENTIARY OBJECTIONS
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-3 Filed 07/11/22 Page 3 of 5 Page ID #:2294



                                                                                                                 1    Obj.    Material Objected To     Grounds for Objection            Ruling on the
                                                                                                                 2    No.                                                                Objection
                                                                                                                                                       other representations of
                                                                                                                 3                                     such data—is barred by
                                                                                                                                                       the best evidence rule.);
                                                                                                                 4                                     see also U.S. v. Rivera-
                                                                                                                                                       Carrizosa, 35 F.3d 573,
                                                                                                                 5                                     2 (9th Cir. 1994)
                                                                                                                                                       (holding that an agent’s
                                                                                                                 6                                     testimony regarding the
                                                                                                                                                       content of a birth
                                                                                                                 7                                     certificate violated the
                                                                                                                                                       “best evidence” rule
                                                                                                                 8                                     [Fed.R.Evid. 1002],
                                                                                                                                                       which states that “[t]o
                                                                                                                 9                                     prove the content of a
                                                                                                                                                       writing … the original
                                                                                                                10                                     writing … is required,
                                                                                                                                                       except as provided in
                                                                                                                11                                     these rules or by Act of
                                                                                                                                                       Congress.”).
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                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                      2      Factual Basis of Deepak   Hearsay (FRE 805, 801- Sustained:
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                                                                                                                13                                     802); (see Lee v. City of
                                                                                                                             Moorjani, People of the   Los Angeles, 250 F.3d
                                                                                                                             State of California v.    668, 688-89 (9th Cir.     Overruled:
                                                                                                                14
                                                                                                                             Deepak Moorjani, Case     2001) (holding “[W]hile
                                                                                                                15                                     the existence of the plea
                                                                                                                             No. RIF 1602262,          is properly subject to
                                                                                                                16           ECF NO. 49-5, ECF 49-5    judicial notice, the
                                                                                                                             at pp. 312-313.           contents of the
                                                                                                                17                                     documents Plaintiff
                                                                                                                                                       submitted are not
                                                                                                                18                                     judicially noticeable for
                                                                                                                                                       the purpose for which
                                                                                                                19                                     Plaintiff introduces
                                                                                                                                                       them; i.e., the truth of
                                                                                                                20                                     the matters contained
                                                                                                                                                       therein.”); see also
                                                                                                                21                                     Wyatt v. Terhune, 315
                                                                                                                                                       F.3d 1108, 1114 (9th
                                                                                                                22                                     Cir.2003) (concluding
                                                                                                                                                       that taking judicial
                                                                                                                23                                     notice of the findings of
                                                                                                                                                       fact from another case
                                                                                                                24                                     exceeds scope of FRE
                                                                                                                                                       201); While the plea
                                                                                                                25                                     related documents may
                                                                                                                                                       be judicially noticeable,
                                                                                                                26                                     the truth of the conduct
                                                                                                                                                       reflected in the plea and
                                                                                                                27                                     factual proffers is not.
                                                                                                                                                       See, e.g., Swartz v.
                                                                                                                28                                     Deutsche Bank, at *6
                                                                                                                                                                                     5:20-CV-02164- GW (KKX)
                                                                                                                                                          -3-                      EVIDENTIARY OBJECTIONS
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-3 Filed 07/11/22 Page 4 of 5 Page ID #:2295



                                                                                                                 1    Obj.    Material Objected To        Grounds for Objection       Ruling on the
                                                                                                                 2    No.                                                              Objection
                                                                                                                                                          (W.D. Wash. May 2,
                                                                                                                 3                                        2008)).
                                                                                                                 4    3      Factual Basis of David       Hearsay (FRE 805, 801- Sustained:
                                                                                                                                                          802); (see Lee v. City of
                                                                                                                             Dillon, People of the        Los Angeles, 250 F.3d
                                                                                                                 5                                                                  Overruled:
                                                                                                                             State of California v.       668, 688-89 (9th Cir.
                                                                                                                 6           David Dillon, Case No.       2001) (holding “[W]hile
                                                                                                                                                          the existence of the plea
                                                                                                                 7           RIF 1602262,                 is properly subject to
                                                                                                                             ECF NO. 49-5, ECF 49-5       judicial notice, the
                                                                                                                 8           at pp. 315-316.              contents of the
                                                                                                                                                          documents Plaintiff
                                                                                                                 9                                        submitted are not
                                                                                                                                                          judicially noticeable for
                                                                                                                10                                        the purpose for which
                                                                                                                                                          Plaintiff introduces
                                                                                                                11                                        them; i.e., the truth of
                                                                                                                                                          the matters contained
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                                                                                                                                                          therein.”); see also
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                                                                                                                                                          Wyatt v. Terhune, 315
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                                                                                                                13                                        F.3d 1108, 1114 (9th
                                                                                                                                                          Cir.2003) (concluding
                                                                                                                14                                        that taking judicial
                                                                                                                                                          notice of the findings of
                                                                                                                15                                        fact from another case
                                                                                                                                                          exceeds scope of FRE
                                                                                                                16                                        201); While the plea
                                                                                                                                                          related documents may
                                                                                                                17                                        be judicially noticeable,
                                                                                                                                                          the truth of the conduct
                                                                                                                18                                        reflected in the plea and
                                                                                                                                                          factual proffers is not.
                                                                                                                19                                        See, e.g., Swartz v.
                                                                                                                                                          Deutsche Bank, at *6
                                                                                                                20                                        (W.D. Wash. May 2,
                                                                                                                                                          2008)).
                                                                                                                21
                                                                                                                      4      Factual Basis of Ernest      Hearsay (FRE 805, 801- Sustained:
                                                                                                                22                                        802); (see Lee v. City of
                                                                                                                             Egger, People of the State   Los Angeles, 250 F.3d
                                                                                                                             of California v. Ernest      668, 688-89 (9th Cir.     Overruled:
                                                                                                                23
                                                                                                                             Egger, Case No. RIF          2001) (holding “[W]hile
                                                                                                                24                                        the existence of the plea
                                                                                                                             1602262,                     is properly subject to
                                                                                                                25           ECF NO. 49-5, ECF 49-5       judicial notice, the
                                                                                                                             at pp. 318-319.              contents of the
                                                                                                                26                                        documents Plaintiff
                                                                                                                                                          submitted are not
                                                                                                                27                                        judicially noticeable for
                                                                                                                                                          the purpose for which
                                                                                                                28                                        Plaintiff introduces
                                                                                                                                                                                   5:20-CV-02164- GW (KKX)
                                                                                                                                                             -4-                 EVIDENTIARY OBJECTIONS
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-3 Filed 07/11/22 Page 5 of 5 Page ID #:2296



                                                                                                                 1    Obj.    Material Objected To    Grounds for Objection            Ruling on the
                                                                                                                 2    No.                                                               Objection
                                                                                                                                                      them; i.e., the truth of
                                                                                                                 3                                    the matters contained
                                                                                                                                                      therein.”); see also
                                                                                                                 4                                    Wyatt v. Terhune, 315
                                                                                                                                                      F.3d 1108, 1114 (9th
                                                                                                                 5                                    Cir.2003) (concluding
                                                                                                                                                      that taking judicial
                                                                                                                 6                                    notice of the findings of
                                                                                                                                                      fact from another case
                                                                                                                 7                                    exceeds scope of FRE
                                                                                                                                                      201); While the plea
                                                                                                                 8                                    related documents may
                                                                                                                                                      be judicially noticeable,
                                                                                                                 9                                    the truth of the conduct
                                                                                                                                                      reflected in the plea and
                                                                                                                10                                    factual proffers is not.
                                                                                                                                                      See, e.g., Swartz v.
                                                                                                                11                                    Deutsche Bank, at *6
                                                                                                                                                      (W.D. Wash. May 2,
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                      2008)).
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                                                                                                                     Dated: July 11, 2022                   BEST BEST & KRIEGER LLP
                                                                                                                15
                                                                                                                16
                                                                                                                                                            By: /s/ Jeffrey v. Dunn
                                                                                                                17                                             JEFFREY V. DUNN
                                                                                                                                                               CHRISTOPHER E. DEAL
                                                                                                                18                                             DANIEL L. RICHARDS
                                                                                                                19                                               Attorneys for Plaintiffs
                                                                                                                                                                 Western Riverside Council of
                                                                                                                20                                               Governments and City of Beaumont
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                                                                                                                                                                                    5:20-CV-02164- GW (KKX)
                                                                                                                                                         -5-                      EVIDENTIARY OBJECTIONS
